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HAHN & HESSEN LLP
488 Madison Avenue
New York, New York 10022
Telephone: (212) 478-7200
Facsimile: (212) 478-7400
Mark T. Power, Esq.
John P. Amato, Esq.
Joseph Orbach, Esq.
Annie P. Kubic, Esq.

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
--------------------------------------------------------x
                                                                Chapter 11
In re:

ORION HEALTHCORP, INC., et al.,                                Case No. 18-71748 (AST)
                                        Debtors.1
--------------------------------------------------------x


                                  NOTICE OF APPEARANCE AND
                           REQUEST FOR NOTICES AND SERVICE OF PAPERS

                    PLEASE TAKE NOTICE that the law firm of Hahn & Hessen LLP hereby appears

as conflicts counsel in these cases on behalf of the Debtors, and that pursuant to Rules 2002, 9007

and 9010(b) of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and sections

102(1), 342 and 1109(b) of the United States Bankruptcy Code, 11 U.S.C. §§ 101-1532 (the

“Bankruptcy Code”), all notices given or required to be given in this case and all papers served or

required to be served in this case, be served upon the following:



1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Orion Healthcorp, Inc. (7246); Constellation Healthcare Technologies, Inc. (0135); NEMS Acquisition,
LLC (7378); Northeast Medical Solutions, LLC (2703); NEMS West Virginia, LLC (unknown); Physicians Practice
Plus Holdings, LLC (6100); Physicians Practice Plus, LLC (4122); Medical Billing Services, Inc. (2971); Rand
Medical Billing, Inc. (7887); RMI Physician Services Corporation (7239); Western Skies Practice Management, Inc.
(1904); Integrated Physician Solutions, Inc. (0543); NYNM Acquisition, LLC (unknown) Northstar FHA, LLC
(unknown); Northstar First Health, LLC (unknown); Vachette Business Services, Ltd. (4672); Phoenix Health, LLC
(0856); MDRX Medical Billing, LLC (5410); VEGA Medical Professionals, LLC (1055); Allegiance Consulting
Associates, LLC (7291); Allegiance Billing & Consulting, LLC (7141). The corporate headquarters and the mailing
address for the Debtors listed above is 1715 Route 35 North, Suite 303, Middletown, NJ 07748.
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                              Mark T. Power, Esq.
                              John P. Amato, Esq.
                              Joseph Orbach, Esq.
                              Annie P. Kubic, Esq.
                              Hahn & Hessen LLP
                              488 Madison Avenue
                              New York, NY 10022
                              Telephone: (212) 478-7200
                              Facsimile: (212) 478-7400
                              E-mail: mpower@hahnhessen.com
                                      jamato@hahnhessen.com
                                       jorbach@hahnhessen.com
                                       akubic@hahnhessen.com

               PLEASE TAKE FURTHER NOTICE that the foregoing demand includes, without

limitation, any notice, application, complaint, demand, motion, petition, pleading or request,

whether formal or informal, written or oral and whether transmitted or conveyed by mail, e-mail,

facsimile, telephone, telegraph, telex, or otherwise filed or made with regard to the captioned case

and proceedings therein.

               PLEASE TAKE FURTHER NOTICE that neither this notice of appearance nor

any prior or later appearance, pleading, claim, or suit shall waive any right of the Debtors to (1)

have final orders in non-core matters entered only after de novo review by a United States District

Court judge, (2) trial by jury in any proceeding so triable in this case or any case, controversy, or

proceeding related to this case, (3) have the United States District Court withdraw the reference in

any matter subject to mandatory or discretionary withdrawal, or (4) have documents served in

accordance with Federal Rule of Bankruptcy Procedure 7004 and Federal Rule of Civil Procedure

4, or to any other rights, claims, actions, or defenses, in law, in equity, or otherwise, all of which

rights, claims, actions, and defenses, are expressly reserved.




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Dated: New York, New York
       April 3, 2018


                                      HAHN & HESSEN LLP

                                      By: /s/ Mark T. Power
                                             Mark T. Power
                                             A Member of the Firm

                                          488 Madison Avenue
                                          New York, New York 10022
                                          Telephone: (212) 478-7200
                                          Facsimile: (212) 478-7400
                                          mpower@hahnhessen.com

                                      Conflicts Counsel for the Debtors




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